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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

KEITH HUDLER JOSEPH,

      Petitioner,

v.                                            Case No.: 3:24cv544-MW/MAL

SHERRY SAULSBERRY,
WARDEN FPC PENSACOLA,

     Respondent.
___________________________/

                    ORDER ACCEPTING AND ADOPTING
                     REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation. ECF No. 10. Accordingly, upon consideration, no objections

having been filed by the parties,

      IT IS ORDERED:

      The report and recommendation, ECF No. 10, is accepted and adopted as

this Court’s opinion. The Clerk shall enter judgment stating, “The petition for habeas

corpus under 28 U.S.C. § 2241, ECF No. 2, is DISMISSED as moot and for failure

to exhaust administrative remedies, and alternatively, DENIED because Petitioner

has not shown he would have been entitled to relief on the merits.” The Clerk shall
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close the file.

       SO ORDERED on May 19, 2025.
                               s/Mark E. Walker                   ____
                               Chief United States District Judge




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